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Alcxandria Division }_ _
UNl'l`ED STATES OF AMERICA _ _-:_ " ` _l
v. Crirninal No. ltlo-cr-I4U
l’ETER ROM/\R, Tlte l-|on. Claude M. Hilton

(a)'k)'a "PIERR[E ROMAR”)`

Deiendant.

 

 

STATIEM|`€N'I` OF FACTS

']`he United Slates and the defendant. l’E'I`ER ROMA R_. agree that the following facts are
true and eorreet, and that had this matter proceeded to trial, the United States would have proven
them beyond a reasonable doubt with admissible and credible evidenee:

l. ROMAR was a Syrian national who. at the time ot`his extradition in this case.
lawfully resided in Germany.

2. t"`rom at least March 2013 into 2{]!4, ROMAR knew oi`the Syrian backing group
known as the "`Syrian lileetronie Army" [°`SEA"); learned oi`Ihe Sl§/'\`s activities through its
social media accounts; ot`t`ered to help the Sl§.l\; and had communications with members ot`thc
SEA.

3. 'ic SE/\ was a group that. beginning in at least t`a|l 20[ I, was involved in a
number dwell-publicized and unauthorized computer intrusions in support oftbe Syrian
GO\'ernment and S_\-'rian president Bashar a|-Assad. From approximately 2013 to 2014. members
ol` the SEA also conducted a eyberextortion scheme that targeted companies in the United States
and abroad. '[`he scheme generally involved obtaining the login credentials civic-tim employees

through spearphishing, using the stolen credentials to gain unauthorized access to protected

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computers, stealing valuable infol'ination, conducting defacements, and disabling services. The
conspirators would thereafter threaten to disclose or seil the stolen information to third parties or
disable additional services should the victim decline to pay a ransom.

4. Over several weeks in or about r\pril 2013. ROMAR engaged SEA leader Ahmad
'Umar Agha (also known as “`The Pro"’) in a series ot`eommunieations about hackng activities
'i`he Pro placed ROMAR in contact with SEA member Firas Dardar. also known by his online
pseudonym “The Shadow." Thereafter. ROMAR and Thc Shadow, who was located in Syria,
communicated directly.

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5. In or around October 2013. Thc Shadow gained unauthorized access to the
computer systems ol`a victim company based in Cyprus. On or about October 29, 2013, The
Shadow sent an entail to the victim company that stated he had "ltaclted" the company"s websitc
servcrs and databases, and demanded payment in exchange for refraining from selling the
company’s information to others. I'Ie provided proot`ot` the back and indicated that he had two
buyers who would each pay €150_,{100 for the information_. but stated that he would not sell it to
these buyers irl exchange for 6300,000 from the victim eompany. Hc gave the victim 24 hours to
respond.

6. On or about November 20. 2013. ROMAR agreed with 'i`he Shado\v to ask his
Gcrman bank whether it would transfer money from Gerrnany to Syria. Within a week.
ROMAR told 'I`he Shadow that while German banks were no longer transferring money to Syria,
Western Union was making such traru~'.fersl

?. On or about November 2?, 2(}13. '[`he Shadow gained unauthorized access to the

computer systems ofa victim company based in Calit`ornia. Later that day. 'l`he Shadow sent an

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email to several ofthe victim`s employees stating: "`[[] backed your websitc servcrs and
databascs and i downloaded it all." The Shadow further demanded money to avoid future
intrusions into the victim`s servers. Receiving no immediate response from the victim, later that
day Thc Shadow compromised the company`s domain registration account and redirected the
victim`s websitc to a site that stated_. "I'iACI\'ED." '[`he next day. the victim company contacted
Thc Shadow about, among other things. paying the demanded ransom.

8. On or about December 15. 2013. The Shadow requested ROMAR`s assistance in
transferring a total of€lG,UUO from Cyprus and the United States to Syria. via ROMAR`$ bank
in Gcrmany. ROMAR informed 'l`he Shadow that because bank transfers from Germany to Syria
were not possible due to sanctions. they would have to lind an alternative means ot`transfer.
ROMAR agreed to receive the money on 'I`hc Shado\v‘s behalf from the two victim companies in
Cyprus and the United States_. referenced above in Paragraphs 5 and '?. and to transfer the funds
to The Shadow via Wcstern Union.

9. During the December 15, 2013 communications The Shadow informed ROMAR
that he had “hacked"` the Cypriot company described in Paragraph 5 above. and that if his victim
companies did not send payment he would "dec|arc a war on them." In return for ROMAR’s
assistance_._ 'fhe Shadow offered ROMAR a ElUOO payment. ROMAR did not accept this El{)OO
payment.

iU. On or about Deeeinber 25. 20!3. 'l`be Shadow instructed ROMAR to transmit any
payment ROMAR received from the U.S. company described in l`*aragraph 7 above, to 'I`amar
Agha. T\vo days later, ROMAR received a Western Union transfer ol`$l,${l{) from said U.S.

company (appro)timately equal to E.l,()39). ROMAR then transferred €935, which represented

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the entire amount received minus bankingfmoney transfer fees, to a contact in Lebanon to
facilitate the transfer to the conspirators in Syria.

l l. In or around July 20]4, '1"he Sbadow gained unauthorized access to the computer
systems ofa victim company based in Ettrope. On or about .luly 26. 20l4, The Shadow sent an
etnail to employees ofthis victim company that stated he had "hacked" the company’s database.
and demanded money in exchange for helping the company avoid future attacks. The following
day. when the victim company agreed to pay E$UUU. 'l`he Shadow instructed the company to send
the money to his “partner." ROMAR. On or about htly 28, 2014, ROMAR received in his
PayPa| account ES{)OU from the victim company. which ROMAR later transferred to his bank
account in Germany. ROMAR then transferred all ofthis money_. minus administrative fees, to
'i`he Shadow.

12. ln 2014. the Shadow transmitted extortionate communications to additional
victims other than those victim companies described above, and ROMAR agreed with 'i`he
Shadovv to t‘eceive. on 'fhc Shado\v`s behalt`. additional payments from victim companies other
than those described above.

13. In undertaking the conduct described above in Paragraphs 6, 8, and 10 through 12,
ROMAR deliberately or intentionally closed his eyes to what would otherwise have been
obvious to him. namely. that tlte payments he received on Fl`he Shadow`s behalf from victim
companies were unlawfully obtained by extortion enabled through the conspiracy having gained
unauthorized access to victim computers ROl`vl/\R`s deliberate or intentional ignorance, or
deliberate or intentional blindness, to the existence of these facts is sufficient to prove beyond a

reasonable doubt that ROMAR acted knowingly

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l¢i. The Statement of I?acts includes those facts necessary to Support the defendant’s
guilty plea. lt does not include each and every fact known to the defendant or to the government,
and il is not intended to be a full enumeration ot`all ofthe facts surrounding the defendant’s case.

l5. The actions of the defendant. as recounted above. were in all respects knowing,
voluntary` and intentiona[, and were not committed by mistake, accident or other innocent
reason.

16. lfthe defendant breaches the plea agreement_. then pursuant to the plea agreement,
he waives any rights under Federal Rule ot`Criminal Procedure l l(f), cheral Rule ovaidence
41{], the Unitcd States Constitution, and any federal statute or rule in objecting to the

admissibility ofthe statement of facts in any such proceeding

Dana .l. Boente
United States Attorncy

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Dei`endant’s Signature: Aftcr consulting with my attorney, l hereby stipulate that the
above Statement of Facts is true and accurate and that had the matter proceeded to trial, the

United States would have proved the same beyond a reasonable doubt

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Date: ‘ 0 ‘

 

 

Peter R(`)MAR
Defendant
Defense Counsel Signature: l am the defendant`s attorney. l have carefully reviewed the
above Statement of Facts with him. 'I`o my knowledge, his decision to stipuiate to these facts is

an informed and voluntary one

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Datc: cf/A?/Z %HCF :K:"`“_?
f / Geremy C./i(amcns` Esq\.
Counsel for the Dcfcndant

